Case 1:21-cr-00599-RBW Document 112 Filed 05/04/23 Page 1 of 3
CO LO9A - Rev. 3/2010

UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

 

Civil/Criminal No.. _21-CR-599 (RBW)

VS.

DONNIE DUANE WREN AND
THOMAS HARLEN SMITH

 

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CO 109A - Rev. 3/2010

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CO 109A - Rev. 3/2010

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